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                 EXHIBIT 3
   FILED UNDER SEAL
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                                                                      Page 1
              UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF CALIFORNIA
                 SAN FRANCISCO DIVISION


______________________________
WAYMO LLC,                            )
                   Plaintiff,         )
          vs.                         )   Case No.
UBER TECHNOLOGIES, INC.,              )   3:17-cv-00939-WHA
OTTOMOTTO LLC; OTTO                   )
TRUCKING LLC,                         )
                   Defendants.        )
______________________________)


     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


       VIDEOTAPED DEPOSITION OF SCOTT BOEHMKE
                San Francisco, California
                 Monday, April 17, 2017
                          Volume I




Reported by:
SUZANNE F. GUDELJ, CSR No. 5111
Job No. 2596382


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                                                                           Page 58
1    were envisioning

2

3        A     It does not say that in this document.

4        Q     Okay.

5        A     This document was to demonstrate

6    positioning                                     that were the

7    lines shown in the graphs.

8        Q     What lines?

9        A     These lines (indicating).

10       Q     And after you came up with what's in

11   Exhibit G, what did you -- what did you do with this

12   information?

13       A     So this information was the plan B which

14   was not pursued after going through commercial

15   third-party efforts with

16       Q     And plan A was

17       A     Mm-hmm.

18       Q     Plan B was -- did it have a name other than

19   plan B?

20       A     It turned into Fuji.

21       Q     And then what was plan C?

22       A     Plan C was the Spider.

23       Q     Okay.     Was there a plan D?

24       A     Not by name.

25       Q     What does that mean, "not by name"?
